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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS

                                                    )
UNITED STATES OF AMERICA,                           )
                                                    )
                       Plaintiff,                   )
                                                    )
                v.                                  )       Case No. 07-20168
                                                    )
BILLY TRINKLE,                                      )
                                                    )
                       Defendant.                   )
                                                    )



                           MEMORANDUM AND ORDER

         Defendant Billy Trinkle was convicted of conspiracy to possess with intent to

distribute more than 50 grams of cocaine base and use of a communication facility in

commission of a drug trafficking crime. He received a 240-month prison sentence.

Mr. Trinkle has filed a motion for appointment of counsel (doc. 1282) to assist him in

raising a 28 U.S.C. § 2255 claim to vacate, set aside, or correct his sentence (doc.

1273).

         There is, however, no constitutional right to counsel beyond the direct appeal

of a conviction. Swazo v. Wyo. Dep’t of Corrs., 23 F.3d 332, 333 (10th Cir. 1994).

“[T]he right to appointed counsel extends to the first appeal of right, and no further.”

Pennsylvania v. Finley, 481 U.S. 551, 555 (1987).

         The court is confident, judging from the content of the motion itself, that Mr.

Trinkle is adequately able to identify and argue the issue he seeks to raise. The court
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will reassess the issue of appointed counsel at a later date if the situation warrants it.


       IT IS THEREFORE ORDERED BY THE COURT that defendant’s motion

for appointment of counsel (doc. 1282) is denied.



       IT IS SO ORDERED this 14th day of September, 2010.


                                     s/ John W. Lungstrum
                                     John W. Lungstrum
                                     United States District Judge




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